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                             UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF SOUTH CAROLINA
                                  COLUMBIA DIVISION

MARY ANN ROBERTSON,                           ) CIVIL ACTION NO. 3:18-CV-01842-TLW
INDIVIDUALLY AND AS EXECTRIX                  )
OF THE ESTATE OF PAUL E. CRUISE,              )
                                              )
                          Plaintiff,          )
                                              )
                vs.                           )
                                              )
AIR & LIQUID SYSTEMS                          )
CORPORATION, et al.,                          )
                                              )
                           Defendants.        )

                                STIPULATION OF DISMISSAL

        Pursuant to Rule 41(a)(1)(A)(i), of the Federal Rules of Civil Procedure, Plaintiff hereby

stipulates and agrees to dismiss all of the claims against defendant, Viad Corp, f/k/a The Dial

Corporation, individually and as successor to Griscom Russell Company, in the above-captioned

action without prejudice. Each party shall bear its own costs.

        Respectfully submitted this 24th day of September, 2019.

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                                 SCARBOROUGH, LLP

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